                Case:
ILND 450 (Rev. 10/13)    1:17-cv-04152
                      Judgment in a Civil Action   Document #: 51 Filed: 07/24/19 Page 1 of 2 PageID #:586

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Amanda Decker,

Plaintiff,
                                                                    Case No. 17-cv-04152
v.                                                                  Judge Manish Shah

Receivables Performance Management, LLC,

Defendant.

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)

          Defendant(s) shall recover costs from plaintiff(s).


                other: Judgment in favor of defendant and against plaintiff on Counts 1, 3, and Count 2 insofar as
that count is premised upon a violation of 15 U.S.C. § 1692g; and judgment in favor of plaintiff and against
defendant on Count 2 insofar as that count is premised upon a violation of 15 U.S.C. §1692d, in the amount of
$2,501.

This action was (check one):

     tried by a jury with Judge Manish Shah presiding, and the jury has rendered a verdict.
     tried by Judge Manish Shah without a jury and the above decision was reached.
     decided by Judge Manish Shah on a motion.



Date: 7/24/2019                                                  Thomas G. Bruton, Clerk of Court
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                                                                 /s/Susan McClintic , Deputy Clerk
